                                                        Case 19-15333-mkn          Doc 217     Entered 11/17/23 18:33:50        Page 1 of 3



                                                   1    Matthew L. Johnson (6004)
                                                        Russell G. Gubler (10889)
                                                   2    JOHNSON & GUBLER, P.C.
                                                        Lakes Business Park
                                                   3
                                                        8831 West Sahara Avenue
                                                   4
                                                        Las Vegas, Nevada 89117
                                                        Phone: (702) 471-0065
                                                   5    Fax: (702) 471-0075
                                                        mjohnson@mjohnsonlaw.com
                                                   6
                                                        Attorneys for Creditor Russell Nype
                                                   7
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                   8
                                                                                             DISTRICT OF NEVADA
                                                   9

                                                   10
                                                         In re:                                )
                                                                                               )                    Case No. BK-S-19-15333-MKN
JOHNSON & GUBLER, P.C.
                         8831 WEST SAHARA AVENUE
                         LAS VEGAS. NEVADA 89117




                                                   11    LAS VEGAS LAND PARTNERS, LLC          )
                            LAKES BUSINESS PARK




                                                                                               )                    Chapter 7
                                (702) 471-0065
                                (702) 471-0075




                                                   12                        Debtor(s).        )
                                                         _____________________________________ )
                                                   13
                                                             OBJECTION TO ORDER SHORTENING TIME REGARDING MOTION TO
                                                   14    APPROVE: (1) THE SALE OF REAL PROPERTY PURSUANT TO 11 U.S.C. § 363(f);
                                                         (2) COMPENSATION IN FAVOR OF CUSHMAN & WAKERFIELD U.S., INC. DBA
                                                   15
                                                         CUSHMAN & WAKEFIELD; AND (3) REIMBURSEMENT OF EXPENSES TO CGA
                                                   16
                                                                             REAL ESTATE SERVICES, LLC

                                                   17             RUSSELL NYPE, as the sole creditor in this case, objects to entry of an Order Shortening

                                                   18   Time for the MOTION TO APPROVE: (1) THE SALE OF REAL PROPERTY PURSUANT

                                                   19   TO 11 U.S.C. § 363(f); (2) COMPENSATION IN FAVOR OF CUSHMAN & WAKERFIELD

                                                   20   U.S., INC. DBA CUSHMAN & WAKEFIELD; AND (3) REIMBURSEMENT OF EXPENSES
                                                   21   ///
                                                   22
                                                        ///
                                                   23

                                                   24

                                                   25




                                                                                                         -1-
                                                        Case 19-15333-mkn        Doc 217      Entered 11/17/23 18:33:50         Page 2 of 3



                                                   1    TO CGA REAL ESTATE SERVICES, LLC, and respectfully requests that the Court set the

                                                   2    hearing on this matter in the ordinary course.
                                                   3
                                                               DATED this 17th day of November, 2023.
                                                   4
                                                                                                               JOHNSON & GUBLER, P.C.
                                                   5
                                                                                                               /s/ Matthew L. Johnson
                                                   6                                                           Matthew L. Johnson (6004)
                                                                                                               8831 W. Sahara Avenue
                                                   7                                                           Las Vegas, Nevada 89117
                                                                                                               (702) 471-0065
                                                   8                                                           mjohnson@mjohnsonlaw.com
                                                                                                               Attorney for Creditor, Russell L. Nype
                                                   9

                                                   10
JOHNSON & GUBLER, P.C.
                         8831 WEST SAHARA AVENUE
                         LAS VEGAS. NEVADA 89117




                                                   11
                            LAKES BUSINESS PARK


                                (702) 471-0065
                                (702) 471-0075




                                                   12

                                                   13

                                                   14

                                                   15

                                                   16

                                                   17

                                                   18

                                                   19

                                                   20

                                                   21

                                                   22

                                                   23

                                                   24

                                                   25




                                                                                                         -2-
                                                        Case 19-15333-mkn        Doc 217     Entered 11/17/23 18:33:50        Page 3 of 3



                                                   1                                    CERTIFICATE OF SERVICE

                                                   2     1.   On November 17, 2023, I caused the following document(s) to be served:
                                                                  OBJECTION TO ORDER SHORTENING TIME REGARDING MOTION TO
                                                   3
                                                                  APPROVE: (1) THE SALE OF REAL PROPERTY PURSUANT TO 11 U.S.C.
                                                   4
                                                                  § 363(f); (2) COMPENSATION IN FAVOR OF CUSHMAN & WAKERFIELD
                                                                  U.S., INC. DBA CUSHMAN & WAKEFIELD; AND (3) REIMBURSEMENT
                                                   5              OF EXPENSES TO CGA REAL ESTATE SERVICES, LLC

                                                   6     2.   I served the above-named document(s) by the following means to the persons listed
                                                              below:
                                                   7
                                                               [X]     a.     ECF System:
                                                   8
                                                                       Under Administrative Order 02-1 (Rev. 8-31-04) of the United States Bankruptcy
                                                   9                   Court for the District of Nevada, the above-referenced document was
                                                                       electronically filed on the date hereof and served through the Notice of Electronic
                                                   10                  Filing automatically generated by that Court’s facilities.
JOHNSON & GUBLER, P.C.
                         8831 WEST SAHARA AVENUE
                         LAS VEGAS. NEVADA 89117




                                                   11          [ ]     b.     United States mail, postage fully prepaid on __________.
                            LAKES BUSINESS PARK


                                (702) 471-0065
                                (702) 471-0075




                                                   12           By depositing a copy of the above-referenced document for mailing in the United States
                                                        Mail, first-class postage prepaid, at Las Vegas, Nevada, to the following parties, at their last
                                                   13   known mailing addresses, on the date above written:

                                                   14
                                                                  I declare under penalty of perjury that the foregoing is true and correct.
                                                   15
                                                        Signed on: November 17, 2023
                                                   16

                                                   17   Carmen Chavez Jorge                  /s/Carmen Chavez Jorge
                                                        Name of Declarant                    Signature of Declarant
                                                   18

                                                   19

                                                   20

                                                   21

                                                   22

                                                   23

                                                   24

                                                   25




                                                                                                       -3-
